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 1                                                  THE HONORABLE BENJAMIN H. SETTLE
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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT TACOMA
 9
     OCEANSTAR MARINE CO.,                               Case No. 3:18-cv-05270-BHS
10
                            Plaintiff,                   JOINT STATUS REPORT
11
     v.
12
     NORVIC SHIPPING INTERNATIONAL
13   LTD. and NORVIC SHIPPING NORTH
     AMERICA INC.,
14
                            Defendants.
15

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              The parties hereto, Plaintiff OCEANSTAR MARITIME CO. (“Plaintiff”) and
17
     Specially     Appearing        Defendant   NORVIC   SHIPPING     INTERNATIONAL                  LTD.
18
     (Defendant”), hereby submit the following Joint Status Report.
19
              1.       Arbitration proceedings before the London Maritime Arbitrators Association
20
     commenced by Plaintiff against Norvic Shipping North America Inc. remain pending and
21
     ongoing.
22
              2.       While the Parties have completed standard disclosure and exchanged witness
23
     and expert evidence, the production of document evidence is ongoing. Once completed, the
24
     Arbitration Tribunal will set a date for the exchange of closing submissions.
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                                                                         SCHWABE, WILLIAMSON & WYATT, P.C.
     JOINT STATUS REPORT                                                          Attorneys at Law
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     CASE NO. 3:18-CV-05270-BHS- 1                                             Seattle, WA 98101-4010
                                                                              Telephone: 206-622-1711

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 1            3.       Should the Court wish to receive any additional information about the
 2    Arbitration, the Parties would be pleased to provide same to the Court. The Parties will
 3    continue to provide the Court with Joint Status Reports every 180 days.
 4

 5            Dated this 30th day of December, 2021
 6
     NICOLL BLACK & FEIG PLLC                    SCHWABE, WILLIAMSON & WYATT, P.C.
 7
                                                 Per Email Authority
 8

 9   By: /s/ Jeremy B. Jones_____________        By: /s/ Philip Lempriere_______________
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13       Co-Counsel for Plaintiff                     Counsel for Defendant Norvic Shipping
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15   CHALOS & CO., P.S.

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